Case 2:04-Cv-02576-.]PI\/|-tmp Document 46 Filed 04/27/05 Page 1 of 4 Page|D 41

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IN THE UNITED sTATEs DISTRICT coUR‘r `H"

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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MARK cmiaw_ss.cz sr
cRAIG BAGWELL, \ND.oF?N,MnWHMS

Plaintiff,

'V¢
NO. 04-2576 Ml/P
MEMPHIS-SHELBY COUNTY AIRPORT
AUTHORITY, LARRY COX, and
MIKE HILL,

Defendants.

 

ORDER GRANTING UNOPPOSED MOTION FOR MODIFICATION OF SCHEDULING
ORDER

 

Before the Court is the Unopposed Motion for Modification
of Scheduling Order, filed April 14, 2005. Good cause having
been shown, the Court GRANTS the motion. The Court amends the
scheduling order in this case as follows:

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 25(a)(1): The
parties will make their disclosures by May 2c 2005.

COMPLETING ALL DISCOVERY: Interrogatories, Request for Production
of Documents, and Request for Admissions: July 15l 2005.
DEPosITIoNs= Seotember'l§, 2005.

EXPERT WITNESS DISCLOSURE: Disclosure of expert testimony in
accordance With Rule 26(a)(2) shall be made by Plaintiff en or

before May 16, 2005. Disclosure of expert testimony in

Ths's document entered on the docket sheet in cog\pi!ance .
with Hu|e 55 and/or 32(b) FRCrP on ¢ILQZ 7“@£5

Case 2:04-Cv-02576-.]PI\/|-tmp Document 46 Filed 04/27/05 Page 2 of 4 Page|D 42

accordance with Rule 26(a)(2) shall be made by Defendants on or

before June ll 2005.

FILING DISPOSITIVE MOTIONS: The deadline to file any dispositive
motions (including motions for summary judgment) shall be October
17l 2005.

TRIAL DATES:

Trial: Mondav, Februarv 27, 2006, at 9:30 a.m. in courtroom no.
4.

Pretrial Conference: A pretrial conference is set for Fridayl
Februarv l?, 2006, at 9:00 a.m.

Pretrial Order: The pretrial order is due by no later than 4:30
p.mr on Fridav, Februarv lO, 2006.

OTHER RELEV'ANT M.ATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, request for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel
to respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by
the discovery deadline or Within 30 days of the default or the
service of the response, answer, or objection, Which is the
subject of the motion, if the default occurs Within 30 days of

the discovery deadline, unless the time for filing of such motion

Case 2:04-Cv-02576-.]PI\/|-tmp Document 46 Filed 04/27/05 Page 3 of 4 Page|D 43

is extended for good cause shown, or the objection to the
default, response, answer, or objection shall be waived.

Pursuant to Defendants' Motion to Strike Jury Demand, filed
on November 23, 2004, the parties dispute whether the right to a
jury trial exists in this matter. The parties anticipate that a
either a jury or non-jury trial would last 2~3 days.

The parties are reminded that pursuant to Local Rule
ll(a){l)(A}, all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed
in this matter. Neither party may file an additional reply,
however, without leave of the Court. lf a party believes that a
reply is necessary, it shall file a motion for leave to file a
reply accompanied by a memorandum setting forth the reasons for
which a reply is required.

The parties have not consented to trial before the
magistrate judge.

This order has been entered after motion of the Plaintiff,
which was agreed to by counsel for the Defendants. Absent good
cause shown, the scheduling dates set by this order shall not be
modified or extended.

So ORDERED this §I;7day of April 2005.

`_M€.M(LQQ

JO P. MCCALLA
ITED S'I'ATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CV-02576 Was distributed by fax, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

David P. J aqua

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

i\/lemphis7 TN 38119

Dwight G. McQuirter

DWIGHT G. i\/ICQUIRTER7 PLLC
P.O. ch 243

Spring Hill, TN 37174

Todd P. Photopulos

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC- Memphis
6075 Poplar Ave.

Ste. 500

i\/lemphis7 TN 38119

Honorable J on McCalla
US DISTRICT COURT

